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                             EXHIBIT 4

                            In Support of

           United States’ Reply to Defendants’ Oppositions to
    United States’ Second Motion for Partial Summary Judgment and
    United States’ Response to Cross-Motions for Summary Judgment
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